IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

ASHEVILLE DIVISION
PLAINTIFF, )
) ORDER FILING
v ) DOCUMENT(S) UNDER SEAL
)
DEFENDANT. )

 

Upon consideration of Plaintiffs Motion for all records to be filed under seal. IT IS
HEREBY ORDERED the document(s) enclosed in this envelope are to be filed with the District
Court Clerk’s Office under seal until further order of this Court.

Dated this day of , 20

 

District Judge

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